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   ·6· · · · · · · · · ·AUDIO TRANSCRIPTION OF:
   ·7· · · · · ·Advisory Opinion to the Attorney General
   ·8· · · · · · · Re: Voting Restoration Amendment,
   ·9· ·SC16-1785 and Advisory Opinion to the Attorney General
   10· · · Re: Voting Restoration Amendment (FIS), SC16-1981
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   13· · · · · · ·Florida Supreme Court Oral Arguments
   14· · · · · · · · · · Monday, March 6, 2017
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   22· ·STENOGRAPHICALLY TRANSCRIBED BY:· JUDY LYNN MARTIN
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   ·1· ·APPEARANCES:
   ·2· ·Chief Justice Jorge Labarga
   ·3· ·Justice Peggy A. Quince
   ·4· ·Justice Barbara J. Pariente
   ·5· ·Justice Ricky Polston
   ·6· ·Justice Alan Lawson
   ·7
   ·8· ·Amit Agarwal, Solicitor General
   ·9· ·Jon L. Mills, Esquire
   10· ·Andrew Starling
   11
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   ·1· · · · · · · ·P R O C E E D I N G S
   ·2· · · · THE DEPUTY CLERK:· All rise.· Hear ye, hear
   ·3· ·ye, hear ye, the Supreme Court of Florida is now in
   ·4· ·session.· All who have cause to plea, draw near
   ·5· ·give attention.· You shall be heard.· God save
   ·6· ·these United States, the great state of Florida and
   ·7· ·this Honorable Court.
   ·8· · · · Ladies and gentlemen, the Supreme Court of
   ·9· ·Florida.· Please be seated.
   10· · · · CHIEF JUSTICE LABARGA:· Good morning.· Welcome
   11· ·to the Florida Supreme Court.· The first case on
   12· ·the docket this morning will be the Advisory
   13· ·Opinion to the Attorney General.
   14· · · · Sir.
   15· · · · MR. AGARWAL:· Good morning, Mr. Chief Justice,
   16· ·and may it please the Court.· My name is
   17· ·Amit Agarwal.· I'm appearing on behalf of the
   18· ·Attorney General.
   19· · · · We're here this morning on the Attorney
   20· ·General's petition for an advisory opinion
   21· ·concerning a ballot initiative entitled "Voting
   22· ·Restoration Amendment."
   23· · · · Only one party will be presenting argument
   24· ·this morning.· Mr. Jon L. Mills will argue in
   25· ·support of ballot placement on behalf of the

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   ·1· ·initiative's sponsor, Floridians For a Fair
   ·2· ·Democracy.· Thank you very much.
   ·3· · · · CHIEF JUSTICE LABARGA:· Has the Attorney
   ·4· ·General taken a position on this?
   ·5· · · · MR. AGARWAL:· No, Your Honor.
   ·6· · · · CHIEF JUSTICE LABARGA:· Thank you.
   ·7· · · · MR. MILLS:· May it please the Court, my name
   ·8· ·is Jon Mills, counsel for the proponent.· Joining
   ·9· ·me at counsel table is Andrew Starling.
   10· · · · The mission of the Court in reviewing of the
   11· ·initiatives is one overarching issue, and that is
   12· ·presenting a fair question to the voters of
   13· ·Florida.
   14· · · · That question is directed to the Court in two
   15· ·parts.· First is the initiative, does it constitute
   16· ·a single subject and, secondly, is the title and
   17· ·summary a clear explanation of the overall purpose
   18· ·of the initiative.
   19· · · · The single subject is divided into two parts
   20· ·itself; that is, is the initiative -- does it
   21· ·constitute log rolling; that is, putting together
   22· ·two disparate issues in order to try to encourage
   23· ·voters unfairly to vote for a proposition, say if
   24· ·proposition included increasing sentences for drug
   25· ·dealers and increasing salaries for teachers.

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   ·1· ·Those are disparate subjects that shouldn't be put
   ·2· ·together.
   ·3· · · · The second component of the single-subject
   ·4· ·rule is does the proposal have a substantial impact
   ·5· ·on multiple functions of government, which, again,
   ·6· ·would create an unfair question.
   ·7· · · · In the past, an example of this was an
   ·8· ·allocation of 40 percent of general revenue to
   ·9· ·education, and the consequence of that would be to
   10· ·have an impact on multiple functions of government.
   11· ·This initiative is rather narrow.
   12· · · · It actually simply provides that -- restores
   13· ·the right to vote to individuals with felony
   14· ·convictions, excluding convictions for murder and
   15· ·felony sexual offenses, upon the completion of all
   16· ·terms of the criminal offense.
   17· · · · JUSTICE QUINCE:· So let me just ask you this,
   18· ·that means that the convicted person would not have
   19· ·to do anything about restoring rights.· This would
   20· ·be an automatic provision.
   21· · · · Are there other rights that they would have to
   22· ·do something about to have restored?
   23· · · · MR. MILLS:· This only relates to voting.· So
   24· ·it doesn't restore the right to hold office,
   25· ·doesn't restore the right to be on a jury or to own

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   ·1· ·a gun, so it's simply voting.
   ·2· · · · A very good explanation of the process was
   ·3· ·done by the fiscal -- Financial Estimating
   ·4· ·Conference that went through specifically how this
   ·5· ·would work in comparison to how it works now.
   ·6· · · · If you are registering to vote, you go to the
   ·7· ·Supervisor of Elections and you fill out a form.
   ·8· ·One of the issues on that form is do you have a
   ·9· ·felony conviction.· So now, given if this passes,
   10· ·it would have do you have a felony conviction and
   11· ·have you fulfilled all terms of the sentence.
   12· · · · And at that point, the Supervisors of Election
   13· ·send those forms to the Secretary of State who
   14· ·verifies it.· So it's -- that process does not
   15· ·change and the process statewide would be
   16· ·identical.· So it doesn't, as the fiscal impact --
   17· ·Financial Impact Conference said, it doesn't change
   18· ·the statutory process at all.
   19· · · · JUSTICE PARIENTE:· Well, it would probably,
   20· ·just from the financial part -- since there was all
   21· ·of this effort several years ago to make sure all
   22· ·felons were removed from the role, so this would be
   23· ·anyone wanting to vote would have to affirmatively
   24· ·reapply?
   25· · · · MR. MILLS:· Yes, that's right.· It doesn't --

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   ·1· ·there isn't an automatic right to go in and vote.
   ·2· ·You have to register to vote.· And the Financial
   ·3· ·Estimating Conference reviewed the number of
   ·4· ·individuals to whom that might apply, and it might
   ·5· ·be as many as 700,000 to whom it would apply.
   ·6· · · · They did an evaluation of how this process
   ·7· ·works in other states.· Most other states do allow
   ·8· ·people to vote after they've fulfilled their
   ·9· ·sentences.· And about 20 percent of the people who
   10· ·are eligible do that.
   11· · · · So their estimate was it would be -- about
   12· ·270,000 people would be eligible and would probably
   13· ·come in.· So the Financial Estimating Conference
   14· ·suggests there will be a bump in expenses, but it
   15· ·would actually level out over time.
   16· · · · JUSTICE POLSTON:· This includes the completion
   17· ·of the terms of probation; right?
   18· · · · MR. MILLS:· Yes, sir.· It specifically
   19· ·includes all matters included in the sentence,
   20· ·including probation and parole.· So that means all
   21· ·matters -- anything that a judge puts into a
   22· ·sentence.
   23· · · · JUSTICE POLSTON:· So it would also include the
   24· ·full payment of any fines?
   25· · · · MR. MILLS:· Yes, sir.· All terms means all

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  ·1· ·terms within the four corners.· So the applicant
  ·2· ·would have to indicate that they have indicated
  ·3· ·that they have completed all terms, and the
  ·4· ·Secretary of State would -- would verify that.
  ·5· · · · JUSTICE QUINCE:· So the Secretary of State
  ·6· ·would verify that.· So once a person pays all their
  ·7· ·fines, completes their parole, completes their
  ·8· ·probation, that information is sent to the
  ·9· ·Secretary of State?
  10· · · · MR. MILLS:· The Secretary of State actually
  11· ·gathers it.· The Secretary of State talks to FDLE,
  12· ·Corrections, et cetera.· So they collect the
  13· ·information and then they verify it back to the
  14· ·Supervisor of Elections.· The Supervisor of
  15· ·Elections makes that judgment.
  16· · · · Ultimately, if the applicant does not agree
  17· ·with the Supervisor of Elections, they can go to
  18· ·the -- to the circuit court.
  19· · · · JUSTICE QUINCE:· So that's -- and that's the
  20· ·process they could do right now?
  21· · · · MR. MILLS:· That process exists because right
  22· ·now you will be checking the box to say I am not a
  23· ·felon.· So if it's sent in and the Secretary of
  24· ·State in verification shows that you are, then you
  25· ·are not qualified, and then they would not qualify

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  ·1· ·you.
  ·2· · · · JUSTICE QUINCE:· So everyone who registers to
  ·3· ·vote, the Secretary of State says whether you are
  ·4· ·or not, I didn't --
  ·5· · · · MR. MILLS:· Yes.· The Secretary of State
  ·6· ·verifies the voting rules, so that doesn't change
  ·7· ·and it's -- that's why the voting rules are
  ·8· ·consistent and they're verified.
  ·9· · · · Currently if you do have a felony conviction,
  10· ·then you enter the process for -- you enter the
  11· ·process to go to the governor and cabinet for
  12· ·clemency and that -- that process would still be
  13· ·required for the exceptions here, which would be
  14· ·murder or sexual felony offense.
  15· · · · JUSTICE QUINCE:· Now, the portion that --
  16· ·about people who are convicted of sexual battery
  17· ·and murder, they -- this says that they would not
  18· ·be qualified until the restoration of their rights,
  19· ·so they would still have to go through the process
  20· ·of --
  21· · · · MR. MILLS:· That's correct, they still go
  22· ·through the same clemency process.· So they would
  23· ·apply to the clemency board for review and for
  24· ·ultimate -- ultimate approval and review.· So
  25· ·actually both those -- the parallel processes as

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  ·1· ·they exist would continue, but the significant
  ·2· ·change is that someone who's fulfilled their
  ·3· ·sentence --
  ·4· · · · JUSTICE PARIENTE:· Nobody has said -- nobody
  ·5· ·has said that anything about what's written here is
  ·6· ·-- on the other side is ambiguous.· And as you
  ·7· ·said, most states have the restoration of voting
  ·8· ·rights.· I mean, in fact, some states they never
  ·9· ·lose it even when they're in jail.· So this is
  10· ·really nothing different than most other states
  11· ·have?
  12· · · · MR. MILLS:· That's correct.· Most other --
  13· ·other states do.· Florida is in a small minority
  14· ·where it's -- basically all -- all felons must go
  15· ·through the clemency process.
  16· · · · CHIEF JUSTICE LABARGA:· Is there a time limit
  17· ·in which the Secretary of State has to make this
  18· ·investigation to see whether a person's qualified
  19· ·to vote or can they just take as long as they want?
  20· · · · MR. MILLS:· I'm not aware of a time limit,
  21· ·so -- I'm also not aware that there's been a
  22· ·particular problem.· There are certainly disputes
  23· ·about who is removed and on what basis, but -- in
  24· ·this case you can see where the Secretary of State
  25· ·will have some important work to do.

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  ·1· · · · CHIEF JUSTICE LABARGA:· If there's a dispute
  ·2· ·as to whether a person is qualified to regain his
  ·3· ·right to vote or not, where would I go?
  ·4· · · · MR. MILLS:· That person goes to circuit court.
  ·5· ·So you -- if you are turned down by the Supervisor
  ·6· ·of Elections, you go to circuit court and you
  ·7· ·object to that conclusion.· But you ultimately --
  ·8· ·as an applicant to vote, you get the -- you are
  ·9· ·turned down or accepted by the Supervisor of
  10· ·Elections.
  11· · · · CHIEF JUSTICE LABARGA:· I just wonder, what
  12· ·kind of -- what kind of action would the person
  13· ·have to file in circuit court; is that a dec action
  14· ·or --
  15· · · · MR. MILLS:· I think it's described as an
  16· ·appeal, you're appealing the decision.· So that
  17· ·probably puts you in a difficult --
  18· · · · CHIEF JUSTICE LABARGA:· Yeah.
  19· · · · MR. MILLS:· -- position because the Supervisor
  20· ·is simply reflecting what the Secretary of State
  21· ·has told them.· And if it's factually -- if you
  22· ·don't qualify, it would appear you don't qualify --
  23· · · · JUSTICE PARIENTE:· I suspect with, depending
  24· ·if it passes or not, that those who are felons who
  25· ·have served their sentence, that there are other

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  ·1· ·documents, you know, certified copy of whatever
  ·2· ·occurs at the end of fulfilling your probation, the
  ·3· ·Department of Corrections has this information.
  ·4· · · · So that's what -- I mean, we're talking about
  ·5· ·things that really -- the details are not part of
  ·6· ·what anyone's saying are -- is confusing or that
  ·7· ·this is going to be a financial burden.
  ·8· · · · So we're asking you, I guess, some questions
  ·9· ·that maybe still have to be ironed out, which is
  10· ·not unusual with these ballot initiatives.
  11· · · · MR. MILLS:· Right.· The initiatives, as long
  12· ·as they provide a fair question and they notify the
  13· ·voter as to the principal question, they fulfill
  14· ·the mission.
  15· · · · And in terms of the financial impact
  16· ·statement, that's further to inform the voter if
  17· ·there is a substantial impact and what the impact
  18· ·is.· It is interesting.· The financial impact
  19· ·statement said, in fact, it may reduce financial
  20· ·obligations of the clemency board ultimately,
  21· ·because there'd be fewer people going through
  22· ·clemency, but obviously --
  23· · · · JUSTICE PARIENTE:· Also, I guess, if they have
  24· ·to -- I guess they'll still -- will they still have
  25· ·to check every person registering to see if they

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  ·1· ·are a felon or how --
  ·2· · · · MR. MILLS:· Yes.
  ·3· · · · JUSTICE PARIENTE:· That will still happen?
  ·4· · · · MR. MILLS:· I mean, that doesn't change.· So
  ·5· ·the form -- actually the current form is really
  ·6· ·quite simple.· It's one page.· And it would be
  ·7· ·changed by -- the Secretary of State would be
  ·8· ·uniform and --
  ·9· · · · JUSTICE QUINCE:· The form you're talking about
  10· ·is a form that anyone would fill out --
  11· · · · MR. MILLS:· Anyone fills out.
  12· · · · JUSTICE QUINCE:· -- in order to register to
  13· ·vote?
  14· · · · MR. MILLS:· Correct.· So you would -- you go
  15· ·in and fill out a form to register to vote and it
  16· ·now asks you if you are a felon.· So if you check
  17· ·yes, you will not be qualified to vote.· So now --
  18· · · · JUSTICE QUINCE:· But there's no follow-up
  19· ·question that says and -- if you answer yes, have
  20· ·your rights been restored?
  21· · · · MR. MILLS:· Well, there isn't that question
  22· ·yet.· So now the question would have to be:· Have
  23· ·you fulfilled all terms of your sentence, including
  24· ·probation, parole, and all terms that are part of
  25· ·your sentence.

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  ·1· · · · And if you check that, you need to be correct,
  ·2· ·because -- well, currently if you check -- you
  ·3· ·don't check that you are a felon and you are, that
  ·4· ·itself is a felony.
  ·5· · · · CHIEF JUSTICE LABARGA:· I mean, the question
  ·6· ·will have to be has the Secretary of State
  ·7· ·certified --
  ·8· · · · MR. MILLS:· Yes.
  ·9· · · · CHIEF JUSTICE LABARGA:· -- that you have --
  10· ·instead of going have you all those things, because
  11· ·then who's going to make that decision below at the
  12· ·Voters Registration Office, so it would have to be
  13· ·the Secretary of State.· And if you check yes to
  14· ·that, then I guess it's a probationary ballot so
  15· ·they can double check?
  16· · · · MR. MILLS:· Well, you don't -- you're not yet
  17· ·registered until you're certified.
  18· · · · CHIEF JUSTICE LABARGA:· I see, this is a
  19· ·register to vote.· Okay.
  20· · · · JUSTICE LAWSON:· I have a question.· You said
  21· ·that terms of sentence includes fines and costs and
  22· ·it's -- that's the way it's generally pronounced in
  23· ·criminal court.
  24· · · · Would it also include restitution when it was
  25· ·ordered to the victim --

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  ·1· · · · MR. MILLS:· Yes.
  ·2· · · · JUSTICE LAWSON:· -- as part of the sentence?
  ·3· · · · In preparing the financial impact statement,
  ·4· ·did anyone -- I assume that the Secretary of State
  ·5· ·can contact the Department of Corrections to
  ·6· ·determine whether someone -- or do a criminal
  ·7· ·history to see if someone's a felon.· But with
  ·8· ·respect to cost, that information might need to
  ·9· ·come from 67 different local clerks --
  10· · · · MR. MILLS:· Clerks of Court.
  11· · · · JUSTICE LAWSON:· Was that considered in
  12· ·determining the financial impact?
  13· · · · MR. MILLS:· They did and they -- they actually
  14· ·assess cost that was X number of dollars that it
  15· ·takes them to -- to check.· So they did assess that
  16· ·and they did expect that this would be -- there
  17· ·would be a bump in cost.
  18· · · · JUSTICE LAWSON:· Then do we know whether all
  19· ·the clerks keep track of restitution in criminal
  20· ·cases when there's not probation imposed?
  21· · · · MR. MILLS:· Well, if it is within the four
  22· ·corners of the sentence, it should be in the
  23· ·record.· That's my understanding.
  24· · · · JUSTICE LAWSON:· The fact that it's imposed
  25· ·would be in the record.· I'm wondering whether the

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  ·1· ·clerk would even know whether it had been paid in
  ·2· ·all cases.
  ·3· · · · MR. MILLS:· Well, that's --
  ·4· · · · JUSTICE LAWSON:· Did they check that?
  ·5· · · · MR. MILLS:· That's a reasonable question.
  ·6· · · · JUSTICE PARIENTE:· That brings up, just since
  ·7· ·we're asking these questions, that you're hoping
  ·8· ·will be details if this passes, but it would seem
  ·9· ·that could the Department of State or the Secretary
  10· ·of State require more of the registrant who has
  11· ·been convicted of a felony to actually themselves
  12· ·certify I've done this, I've done this, and -- with
  13· ·certified copies, number one.
  14· · · · And number two, I'm thinking maybe this would
  15· ·actually help the State because if fines, costs,
  16· ·and restitution are a requirement, there's -- for
  17· ·those that want to vote, there's a big motivation
  18· ·to pay unpaid costs, fines, and restitution.
  19· · · · So two things:· One, could -- without
  20· ·burdening the voter, if there's an answer have you
  21· ·ever been convicted of a felony, yes, and then -- I
  22· ·think Justice Quince was saying, well, have your
  23· ·voting rights been restored, which civil rights
  24· ·under the current statute, but if the next question
  25· ·is and have you completed all requirements, give us

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  ·1· ·the date and whatever, so that there's some
  ·2· ·obligation on the voter, are --
  ·3· · · · MR. MILLS:· I --
  ·4· · · · JUSTICE PARIENTE:· -- or the potential voter.
  ·5· · · · MR. MILLS:· There's no reason that the
  ·6· ·Secretary of State couldn't do that --
  ·7· · · · JUSTICE PARIENTE:· So that's in the details.
  ·8· · · · MR. MILLS:· -- because the scope of this
  ·9· ·clearly says that that's what's required.· So if
  10· ·they think that process would be the best way to
  11· ·determine that result, then they could.
  12· · · · JUSTICE QUINCE:· Who actually promulgates that
  13· ·form, who makes up that form, is that the Secretary
  14· ·of State's form or the Supervisor?
  15· · · · MR. MILLS:· It is the Secretary of State's
  16· ·form.· So, yes, every Supervisor of Elections has
  17· ·that form for -- for them to fill out.
  18· · · · CHIEF JUSTICE LABARGA:· It would seem like the
  19· ·Secretary of State once he or she conducts the
  20· ·background investigation and confirms that the
  21· ·person has done everything he was supposed to do,
  22· ·would issue some type of certificate, official
  23· ·certificate, that the voter -- potential voter
  24· ·could take to the registration office and show them
  25· ·the certificates and that would take care of it

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  ·1· ·instead of just having the registration person go
  ·2· ·back and check with the Secretary of State and
  ·3· ·that's just more delay, more bureaucracy.
  ·4· · · · MR. MILLS:· So that if you're saying the
  ·5· ·individual would have a path to themselves to
  ·6· ·demonstrate that they have completed all terms?
  ·7· · · · CHIEF JUSTICE LABARGA:· Right.· An official
  ·8· ·certificate from the Secretary of State showing
  ·9· ·that -- the clerk when you go to register, here it
  10· ·is, everybody recognizes it, and it's done instead
  11· ·of, again, having to call back or check back with
  12· ·the Secretary of State, and that would --
  13· · · · MR. MILLS:· To establish a policy proactively.
  14· · · · CHIEF JUSTICE LABARGA:· Right.
  15· · · · MR. MILLS:· Yeah, which makes complete sense.
  16· ·So overall, Your Honor, this -- the purpose is
  17· ·clearly articulated.· It is a restoration of voting
  18· ·rights under these specific conditions.· It's clear
  19· ·to the voter both in terms of meeting the single
  20· ·subject test and the ballot title and summary are
  21· ·clear.
  22· · · · Thank you, Your Honor.
  23· · · · CHIEF JUSTICE LABARGA:· Thank you for your
  24· ·argument.
  25· · · · Solicitor General.

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  ·1· · · · MR. AGARWAL:· Yes, Your Honor.
  ·2· · · · CHIEF JUSTICE LABARGA:· Would you like to
  ·3· ·introduce yourself to the Court?
  ·4· · · · MR. AGARWAL:· Your Honor, thank you so much.
  ·5· ·It's such a great honor to be appearing in front of
  ·6· ·this Court for my first time.· I was appointed
  ·7· ·Solicitor General last year and --
  ·8· · · · CHIEF JUSTICE LABARGA:· We're looking forward
  ·9· ·to hearing you.
  10· · · · MR. AGARWAL:· Thank you so much.· Pleasure to
  11· ·meet all of you.
  12· · · · CHIEF JUSTICE LABARGA:· Thank you.
  13· · · · (The hearing concluded.)
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  ·1· · · · · · · · · ·STENOGRAPHER CERTIFICATE
  ·2· ·STATE OF FLORIDA
  ·3· ·COUNTY OF LEON
  ·4
  ·5· · · · · · ·I, JUDY LYNN MARTIN, certify that I was
  ·6· · · · authorized to and did stenographically transcribe
  ·7· · · · the foregoing audio-taped proceedings, and that the
  ·8· · · · transcript is a true and complete record of my
  ·9· · · · stenographic notes.
  10
  11· · · · · · ·Dated this 2nd day of August, 2019.
  12
  13
  14· · JUDY LYNN MARTIN
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